                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )       Case No. 19-00357-01-CR-W-BP
                                             )
DYQWON D. BROWN,                             )
                                             )
                      Defendant.             )

  ORDER AND OPINION (1) ADOPTING MAGISTRATE JUDGE’S REPORT AND
 RECOMMENDATION AND (2) DENYING DEFENDANT’S MOTION TO SUPPRESS

       Defendant Dyqwon Brown has been charged with being a felon in possession of

ammunition. He filed a Motion to Suppress, (Doc. 32), contending that the ammunition should be

suppressed. The Honorable Jill A. Morris, United States Magistrate Judge for this District, held a

hearing on February 26, 2021, and she issued a Report recommending that the Motion to Suppress

be denied. (Doc. 47.) Defendant objects to Judge Morris’s Report and Recommendation (“the

Report”).

       The Court has conducted a de novo review as required by 28 U.S.C. § 636(b)(1). In

particular, the Court has reviewed the parties’ submissions before the hearing, the transcript from

the hearing, and Defendant’s objections. Having conducted this review, the Court adopts the

Report as the Order of the Court and denies the Motion to Suppress; the Court’s discussion is

intended to augment, not supplant, the Report’s recommended findings and conclusions.

                                      I. BACKGROUND

       The ammunition was recovered when Defendant was brought to Research Medical Center,

(“RMC”), with a gunshot wound. RMC employs both private security officers and off-duty

Kansas City, Missouri Police Department Officers, but they perform different functions.




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       While treating the patient ER staff remove the patient’s clothing, and it is searched by the

private security officer. This is done pursuant to RMC policy to ensure the safety of RMC

personnel. This search is conducted for all trauma victims, regardless of whether the injuries

appear related to criminal activity. (E.g., Doc. 45, pp. 12, 17.) If the security officer finds

contraband (which could consist of weapons or illegal substances), the contraband is secured and

the police are advised. RMC’s policy does not call for (or, apparently, permit) the off-duty officer

to conduct this search. Instead, the off-duty officer’s responsibility is to make sure that doctors

and other personnel are not attacked or assaulted. The off-duty officer stays in the Emergency

Room, typically near “Pod 3” which is reserved for overdose patients and others who are inclined

to become belligerent.

       In addition, if a gunshot victim is brought to RMC, the off-duty officer is told of that fact.

The officer then radios dispatch so that an on-duty officer can come to RMC and investigate. (Doc.

45, pp. 28, 30.) The investigation is not conducted by the off-duty officer.

       Defendant was brought to RMC on April 21, 2019, with a gunshot wound. Consistent with

RMC’s policy he was assigned a number and his clothes were removed. His clothes were searched

by Terrance Cosby, who was a security officer employed by a private security company that had

a contract with RMC. During his search of Defendant’s clothes Cosby found a magazine and

ammunition. RMC regards ammunition as contraband, so Cosby took the ammunition so that it

could be given to the police.

       At some point, Detective Galloway radioed to dispatch that a gunshot victim had been

admitted to the ER at RMC. Officer Jacob Alexander went to RMC in response to Detective

Galloway’s call. At this point, neither Detective Galloway or Officer Alexander knew Defendant’s




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name, nor did they know anything about the incident in which he was shot. Cosby gave the

ammunition and, later, Defendant’s clothes to Officer Alexander.

                                         II. DISCUSSION

       The Fourth Amendment circumscribes the Government’s ability to search a person or his

effects, but the Fourth Amendment does not apply to a search conducted by a private individual

unless the private individual is an agent or instrument of the government. “Three factors determine

whether a private individual is acting as, or with the participation of, a government official: (1)

whether the government had knowledge of and acquiesced in the intrusive conduct; (2) whether

the citizen intended to assist law enforcement or instead acted to further his own purposes; and (3)

whether the citizen acted at the government's request.” United States v. Avalos, 984 F.3d 1306,

1307-08 (8th Cir. 2021) (quotations omitted). The Court finds that Cosby acted on behalf of RMC,

that both were private individuals, and that neither acted as agents or instruments of the

government when Defendant’s clothes were searched and the ammunition was “seized”.

Therefore, the search did not violate the Fourth Amendment.

       Defendant does not dispute that Cosby and RMC were private individuals, or that a search

conducted by Cosby on RMC’s behalf would not violate the Fourth Amendment. Instead, he

argues that the Record does not support a finding that Cosby conducted the search because neither

he nor Detective Galloway specifically recalled the events of April 21, 2019. After conducting a

de novo review, the Court finds that Cosby conducted the search. Facts supporting this finding

include: (1) RMC policy required its private security officers to conduct the searches in the trauma

room, (2) searches in the trauma room were not conducted by off-duty police officers, (3) RMC

practice called for off-duty police officers to protect and intervene in case patients threatened staff

members’ safety, so Detective Galloway would not likely have been in a place where he could



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search the clothing, (4) Officer Alexander testified that he received the ammunition from Cosby,

(5) Detective Galloway testified that off-duty officers (including him), “never search” the trauma

victims’ belongings, (Doc. 45, p. 31), which forecloses the possibility that he did so on this

occasion, and (6) there is no evidence that the search was conducted by anyone other than Cosby.

Therefore, the Court finds that the search of Defendant’s clothing was conducted by a private

individual and there is no Fourth Amendment violation.

                                      III. CONCLUSION

       For these reasons, the Court OVERRULES Defendant’s objections, (Doc. 50), ADOPTS

Judge Morris’s Report and Recommendation, (Doc. 47), and DENIES the Motion to Suppress.

(Doc. 32.)


IT IS SO ORDERED.




                                                    /s/ Beth Phillips
                                                    BETH PHILLIPS, CHIEF JUDGE
DATE: May _12_, 2021                                UNITED STATES DISTRICT COURT




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